    Case No. 1:01-cr-00214-RM Document 3709 filed 03/24/09 USDC Colorado pg 1 of 1


                                    UNITED STATES DISTRICT COURT
                                        DISTRICT OF COLORADO
                                         OFFICE OF THE CLERK
GREGORY C. LANGHAM, CLERK                                                                            ROOM A-105
                                                                                          ALFRED A. ARRAJ U.S. COURTHOUSE
                                                                                                  901 19TH STREET
                                                                                            DENVER, COLORADO 80294-3589
                                                                                                PHONE (303) 844-3433
                                                                                                 www.cod.uscourts.gov



                                                    March 24, 2009


      SEE NOTICE OF ELECTRONIC FILING

      RE:     USA v. Woods (19)

      District Court Case No. 01-cr-00214-WYD
      Notice of Appeal Filed on March 20, 2009 by the petitioner
      Other Pending Appeals: none

               Attached are the following documents for the parties in connection with the notice of appeal: Copy
      of the notice of appeal and a copy of the docket sheet. Attached for the appellant only are a letter from the
      U.S. Court of Appeals and a Docketing Statement. Chief Judge Daniel has not entered an order on the
      certificate of appealability.

              The Defendant has in forma pauperis status.

              As soon as an order on the certificate of appealability enters, I will immediately advise the court.

                                                                Sincerely,
                                                                GREGORY C. LANGHAM, Clerk


                                                                by s/ B. Reed
                                                                   Deputy Clerk


      cc:     Clerk, U.S. Court of Appeals (with copy of docket sheet, copy of notice of appeal and the preliminary
              record)
